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                      UNITED STATES COURT OF APPEALS                         FILED
                             FOR THE NINTH CIRCUIT                            APR 20 2020
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
 AMERICAN SOCIETY OF                               No.    20-55408
 JOURNALISTS AND AUTHORS, INC.;
 NATIONAL PRESS PHOTOGRAPHERS                      D.C. No.
 ASSOCIATION,                                      2:19-cv-10645-PSG-KS
                                                   Central District of California,
                  Plaintiffs-Appellants,           Los Angeles

  v.                                               ORDER

 XAVIER BECERRA, Attorney General of
 the State of California,

                  Defendant-Appellee.

       The appeal filed April 17, 2020 is a preliminary injunction appeal.

 Accordingly, Ninth Circuit Rule 3-3 shall apply.

       The mediation questionnaire is due three days after the date of this order.

       If they have not already done so, within 7 calendar days after the filing date

 of this order, the parties shall make arrangements to obtain from the court reporter

 an official transcript of proceedings in the district court that will be included in the

 record on appeal.




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       The briefing schedule shall proceed as follows: the opening brief and

 excerpts of record are due not later than May 15, 2020; the answering brief is due

 June 12, 2020 or 28 days after service of the opening brief, whichever is earlier;

 and the optional reply brief is due within 21 days after service of the answering

 brief. See 9th Cir. R. 3-3(b).

       No streamlined extensions of time will be approved. See 9th Cir. R. 31-

 2.2(a)(3). Any request for an extension of time to file a brief must be made by

 written motion under Ninth Circuit Rule 31-2.2(b).

       Failure to file timely the opening brief shall result in the automatic dismissal

 of this appeal by the Clerk for failure to prosecute. See 9th Cir. R. 42-1.




                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT


                                                   By: Tina S. Price
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7




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